                             UN ITE D S TA TE S D IS TRIC T C O URT
                       E A S TE RN D IS TRIC T O F N O RTH C A RO L IN A
                                     W E S TE RN D IV IS IO N
                                  File N o.1:15-C V -00040-B O


 S P URTRE E TE C H N O L O GIE S P RV T.,
 L TD .,

                        P laintiff,

        v.                                              S TIP UL A TIO N O F D IS M IS S A L
                                                        (Ru le 41(a)(1),Fed .R.C iv.P .)
 iC O O L TE C H N O L O GIE S ,IN C .and JA Y
 P RA KA S H M A D A N ,

                        D efend ants.


       W H E RE A S the parties entered into a settlementagreementthatinclu d ed D efend ants’

confessions of ju d gmentthatare cu rrently beingpu rsu ed in state cou rt;

       IT IS H E RE B Y STIP UL A TE D by the parties thatallclaims are volu ntarily d ismissed

withou tpreju d ice,pu rsu antto Ru le 41(a)(1)(ii),Fed .R.C iv.P .

       Respectfu lly su bmitted this 15th d ay of September,20 15.



  /s/J ohn A .Zaloom                               /s/J oshu aM .H iller
 J ohn A .Z aloom                                  Joshu aM .H iller
   N .C .B arN o.30 557                              N C B ar# 390 10
 M oore & V an A llen,P L L C                      H illerL aw,P L L C
 P .O .B ox 137 0 6                                10 0 0 C entreGreen W ay,Su ite 20 0
 ResearchTriangle P ark,N C 27 7 0 9               C ary,N orthC arolina27 513
 Telephone: (919)28 6-8 18 2                       T:919.60 7 .220 5
 Fax :            (919)416-8 38 0                  josh@ hiller-law.com
 johnzaloom@ mvalaw.com                            C ou nselforD efend ants
 A ttorneys forP laintiff




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                               C E RTIFIC A TE O F S E RV IC E

        I hereby certify that on this d ay I electronically filed the foregoing S tipu lation of
D ismissalwith the C lerk of C ou rtu singthe C M /E C F system,which willd elivernotice of su ch
filingto allcou nselof record .

       D ated :September,20 15

                                     B y:    /s/J ohn A .Zaloom
                                            J ohn A .Zaloom
                                              N .C .B arN o.30 557
                                            M oore & V an A llen,P L L C
                                            P .O .B ox 137 0 6
                                            ResearchTriangle P ark,N C 27 7 0 9
                                            Telephone: (919)28 6-8 18 2
                                            Fax :            (919)416-8 38 0
                                            johnzaloom@ mvalaw.com
                                            A ttorneys forP laintiff




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